
GRaham, Judge,
delivered the opinion of the court:
This is one of five cases between the same parties involving the validity and infringement of Letters Patent 809582 and 942932, the property of the plaintiff. The question of the validity of these patents has been discussed and passed upon in the opinion filed by the court in No. C-320, handed down this day (cunte, p. 491), so that it is unnecessary to consider this question again. Inasmuch as the court has found that there is no proof of infringement by purchase and use by the defendant it is unnecessary to consider the question of infringement. The petition should therefore be dismissed, and it is so ordered.
Moss, Judge; Hay, Judge; Booth, Judge; and Campbell, Chief Justice, concur.
